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     Assistant Federal Defender
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5
     Attorney for Defendant
6    MARTY MARCIANO BOONE
7
                                 IN THE UNITED STATES DISTRICT COURT
8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. 2:16-cr-020 TLN
                                                 )
11                  Plaintiff,                   )   STIPULATION AND ORDER TO
                                                 )   CONTINUE STATUS CONFERENCE, AND TO
12          vs.                                  )   EXCLUDE TIME
                                                 )
13   MARTY MARCIANO BOONE and                    )   Date: August 18, 2016
     RONDA BOONE,                                )   Time: 9:30 a.m.
14                                               )   Judge: Hon. Troy L. Nunley
                    Defendants.                  )
15                                               )
16           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
17   Attorney, through Assistant United States Attorney Jared Dolan, attorney for Plaintiff, Heather
18   Williams, Federal Defender, through Assistant Federal Defender Hannah R. Labaree, attorney
19   for Marty Marciano Boone, and Robert Wilson, attorney for Ronda Boone, that the status
20   conference scheduled for August 18, 2016 be vacated and be continued to October 6, 2016 at
21   9:30 a.m.
22           The grounds for this continuance are that defense counsel would like additional time to
23   review the voluminous discovery that has been produced and to investigate the facts of the case,
24   so to allow time for effective preparation and to negotiate a resolution to this matter.
25           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26   excluded of this order’s date through and including October 6, 2016; pursuant to 18 U.S.C.
27   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
28   based upon defense preparation.

      Stipulation and Order to Continue Status        -1-
      Conference
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1    DATED: August 15, 2016                      Respectfully submitted,
2                                                HEATHER E. WILLIAMS
3                                                Federal Defender

4                                                /s/ Hannah R. Labaree
                                                 HANNAH R. LABAREE
5                                                Assistant Federal Defender
                                                 Attorney for MARTY MARCIANO BOONE
6
7    DATED: August 15, 2016                      /s/ Robert M. Wilson
                                                 ROBERT M. WILSON
8                                                Attorney for RONDA BOONE

9
     DATED: August 15, 2016                      PHILLIP A. TALBERT
10
                                                 Acting United States Attorney
11
                                                 /s/ Jared Dolan
12                                               JARED DOLAN
                                                 Assistant U.S. Attorney
13                                               Attorney for Plaintiff
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      Stipulation and Order to Continue Status     -2-
      Conference
     Case 2:16-cr-00020-TLN-DB Document 35 Filed 08/15/16 Page 3 of 3


1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    October 6, 2016, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the August 18, 2016 status conference shall be continued until October 6,
13   2016, at 9:30 a.m.
14   Dated: August 15, 2016
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16
                                                             Troy L. Nunley
17                                                           United States District Judge

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      Stipulation and Order to Continue Status        -3-
      Conference
